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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION


UNITED STATES OF AMERICA

      V.                                            CR 218-4


JOYCE A.IVERSON,
                     Defendant.


                               PLEA AGREEMENT


      Defendant Joyce A. Iverson, represented by her counsel Ron Harrison, Esq.

and the United States of America, represented by Assistant United States Attorney

E. Greg Gilluly, Jr. have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows.

1.    Guilty Plea


      Defendant agrees to enter a plea of guilty to Count Eight of the Indictment,

False Statement During Purchase of a Firearm, in violation of Title 18, United States

Code, Section 922(a)(6) The government agrees to dismiss the remaining count(s) at

sentencing.

2.    Elements and Factual Basis


      The elements necessary to prove the offense charged in Count Eight are:

      (1)     The defendant bought a firearm from a federally licensed dealer;

      (2)     The defendant knowingly made a false or fictitious statement that was
              intended to deceive the dealer, and;

      (3)     The subject matter ofthe false statement was material to the lawfulness
              of the sale.
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      Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts, which satisfy the required elements:

      On or about February 15, 2017,in Glynn County, within the Southern District

of Georgia, the defendant JOYCE A.IVERSON,in connection with the acquisition of

a DPMS AR-15 .223 caliber rifle, from Academy Sports, FFL 1-58-12468, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,,

knowingly made a false and fictitious statement to Academy Sports, which statement

was intended and likely to deceive Academy Sports as to the material to the

lawfulness of such sale of the said firearm to the defendant under Chapter 44 ofTitle

18, in that the defendant represented in a Department of Justice, Bureau of Alcohol,

Tobacco, Firearms, and Explosives Form 4473, Firearms Transaction Record, to the

effect that she was the actual buyer of the firearm listed on the Form 4473, when in

fact as the defendant knew, she was not the actual buyer of the firearm. The firearm

buyer was Gary Goss, a drug user, drug dealer, and convicted felon.

3.    Possible Sentence


      Defendant's guilty plea will subject her to the following maximum possible

sentence. Count One: not more than 10 years ofincarceration, a fine of not more than

$250,000 and not more than 3 years of supervised release. The defendant must also

pay a mandatory special assessment of $100 on the date of sentencing.

4.    No Promised Sentence


      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any
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estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

her plea of guilty if she receives a more severe sentence than she expects.

5.     Court's Use of Sentencing Guidelines

      The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

1B1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.    Asrreements Regarding Sentencing Guidelines


      a.     Use of Information


      Nothing in this agreement precludes the government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range. It is understand however, that information

received via U.S.S.G. § 1B1.8 will not be used against the defendant, so long as the

defendant is truthful and does not commit any conduct that is inconsistent with

acceptance of responsibility.
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      b.     Acceptance of Responsibility

      The government will not object to a recommendation by the U.S. Probation

Ofi&ce that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b)of the Sentencing Guidelines based on Defendant's timely notification of her

intention to enter a guilty plea.

      c.     Cross Reference


      The government will recommend that a cross-reference under USSG 2K2.1(c)

should not apply as to this defendant relative to her knowing or intending that the

firearm she assisted her co-defendant(Goss)in procuring(by lying on the form) would

be used in connection with a drug trafficking offense.

7.    Cooperation


      a.     Complete and Truthful Cooperation



      The defendant must provide full, complete, candid, and truthful cooperation in

the investigation and prosecution ofothers in state and federal court. Defendant shall

fully and truthfully disclose her knowledge of those offenses and shall fully and

truthfully answer any question put to her by law enforcement officers about those

offenses.
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      This agreement does not require Defendant to "make a case" against any

particular person. Her benefits under this agreement are conditioned only on her

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.


      b.      Motion for Reduction in Sentence Based on Cooperation


      The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.



8.    Forfeiture


      a.      In accordance with the forfeiture language in the indictment. Defendant

agrees to forfeit her interest in the property seized in this case,including the Hi-Point

.380 pistol, serial number P8121958, DPMS AR-15,.223 caliber rifle, serial number

FFH148600, Taurus 9mm caliber pistol, serial number TJR85971, Sig Sauer .40

caliber pistol, serial number 24B259840, CBC .22 caliber rifle, serial number,

EMK3974165, Remington .22 caliber rifle, serial number A2696439, ammunition,

and other property seized in this case (the "subject property").
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      b.     Defendant agrees to hold the government and its agents and employees

harmless from any claims made in connection with the seizure, forfeiture, or disposal

of property connected to this case.       Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.

      c.     Defendant waives and abandons her interest in any other property that

may have been seized in connection with this case. Additionally, Defendant waives

any and all challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in connection with this case. Defendant specifically agrees to waive

any challenges arising under the Double Jeopardy Clause of the Fifth Amendment

and the Excessive Fines Clause of the Eighth Amendment.

9.    Financial Obhgations and Agreements


      a.     Special Assessment


      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      b.     Reouired Financial Disclosures

      By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in her name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and
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provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        c.    Financial Examination


        Defendant will submit to an examination under oath on the issue of her

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets


        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations [or

forfeiture]created by this Agreement or that may be imposed upon her by the Court

at sentencing. Defendant promises that she will make no such transfers in the future.

        e.    Material Chansre in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.
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       f.    Enforcement


       Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

10.    Waivers


       a.    Waiver of Anneal


       Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground. The only exceptions are that the Defendant may file a

direct appeal of her sentence if(1) the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs

her attorney not to file an appeal.

       b.    Waiver of Collateral Attack

       Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method, including but not hmited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim of ineffective assistance of counsel.



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       c.    FOIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Grim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or her plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.    Defendant's Rights


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.
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12.     Satisfaction with Counsel


        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that her attorney has represented her faithfully, skillfully, and

diligently, and she is completely satisfied with the legal advice given and the work

performed by her attorney.

13.     Breach of Plea Agreement


        If Defendant fails to plead guilty, withdraws or attempts to withdraw her

guilty plea, commits any new criminal conduct following the execution of this

agreement, or otherwise breaches this agreement, the government is released from

all of its agreements regarding Defendant's sentence, including any agreements

regarding the calculation ofDefendant's advisory Sentencing Guidelines. In addition,

the government may declare the plea agreement null and void, reinstate any counts

that may have been dismissed pursuant to the plea agreement, and/or file new

charges against Defendant that might otherwise be barred by this plea agreement.

Defendant waives any statute-of-limitations or speedy trial defense to prosecutions

reinstated or commenced under this paragraph.

14.     Entire Agreement


        This agreement contains the entire agreement between the government and

Defendant.




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                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY



Date                                    Brian T. Raff^ty
                                        Chief? Crimmal Division



Date                                    E. Greg Gilluly, Jr.
                                        Assistant United States Attorney




       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    JOYCE IvERSO]
                                        Defendant



       I have fully explained to Defendant all of her rights, and I have carefully

reviewed each and every part of this agreement with her. I believe that she fully and

completely understands it, and that her decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    R(5n Harrison, Esq.
                                        Defendant's Attorney




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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION


UNITED STATES OF AMERICA


V.                                                  CR 218-4

JOYCE IVERSON



                                      ORDER


       The aforesaid plea agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day of ^C[i/                 2018.




                                LIS^ODBEY WOOD,JUDGE
                                UMTED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA
